Case: 1:14-cv-00779
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                     NOTE: This order is nonprecedential.

             United States Court of Appeals
                 for the Federal Circuit
                         __________________________


            DYSON, INC., DYSON TECHNOLOGY LIMITED,
                         Plaintiffs - Appellants

                                       v.

            SHARKNINJA OPERATING LLC, SHARKNINJA
                       SALES COMPANY,
                      Defendants - Appellees

                         __________________________

                                  18-1915
                         __________________________

             Appeal from the United States District Court for the
             Northern District of Illinois in case no. 1:14-cv-00779
               United States District Judge Robert M. Dow Jr.
                        __________________________

                                  ORDER
              The parties having so agreed, it is,
             ORDERED that the proceeding is DISMISSED under
          Fed. R. App. P. 42 (b). Each side shall bear its own costs.
Case: 1:14-cv-00779
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          2                     DYSON, INC. V. SHARKNINJA OPERATING LLC




                                         FOR THE COURT

          August 1, 2018                 /s/ Peter R. Marksteiner
                                         Peter R. Marksteiner
                                         Clerk of Court



          ISSUED AS A MANDATE: August 1, 2018
